C18-284 \\/|GN

AO 440 (Rev. 12/09) Suminons in a Civil Action

 

UNITED STATES DlsTRlCT CoURT

for the

Western District of l\/lissouri

Carpenters Pension Trust Fund of Kansas City, et a|.

 

P/aintl']‘f
V. Civil Action No. 18-414-CV~VV-ODS

Bradford |nterior Group, LLC

 

\/\/\./\./\/\./\./

Defena’ant

SUMMONS IN A CIVIL ACTION

TOZ (Defendant ’s name and address)
|-rondale |\/|. Bradford
Registered Agent
9546 E. 57th Terr.
Raytown, |\/lO 64133

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -# or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) ~ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff" s attorney,
whose name and address are:

Amo|d NeWbOld Winter & Jackson p_C_ Documents Served: Comp|aint, Summons, MAP Form

1100 |\/|ain Street., Suite 2001
Kansas Ci‘cy7 |\/\issouri 64105

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERI< oF CoURT

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Q/ 30, 2013

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Date:

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Civil Action No. 18-414-CV-W-ODS

PROOF OF SERVICE
( T his section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title ifany) "I";Qo,`\ LQ,\Q B/`O.A`QN`A l QJS;LAQ|`€A P($;MJ(

 

was received by me on (date) mm 31 391 g .

l:l l personally served the summons on the individual at (p/ace)

 

on (date) ; or

El l left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

 

 

 

 

on (dme) , and mailed a copy to the individual’s last known address; or
111 l served the summons on (name of individual) F»&NAQL\L &m.c§;°t`é QA , who is
designated by law to accept service of process on behalf of (name ofozqgam'zotion)l (‘ZF¢LC\_-Q_Q,-A_
'IN`\~Q(`\Q\’ Cr{`o\.¢p l LL c_ on (daze) ; or
\ l m__ ~'_
l:l l returned the summons unexecuted because ; or
l:l Oth€r (specif)`)).'
p- g l
l\/Iy fees are $ ]Qq 00 for travel and $ 33 '50 for services, for a total of$ j$e#,§° .

l declare under penalty of perjury that this information is true.

Dat@; aisi/z 7 '~ 'W\-€ 3

Server `s signature

jim {Y\»Ld\€i'\-? " P{"\OO`.`K~Q PFCLQS$.SQNQ,F`

Printed name and title

\/Wi/lw¢;wl/`C twa L»~HU,

Server s a dress

Additional information regarding attempted service, etc:

   
   

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